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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                 )
                                       )
CEC DEVELOPMENT BORROWER, LLC, )                     Case No. 20-14573 MER
                                       )             Chapter 11
                   Debtor.             )
______________________________________ )
                                       )
In re:                                 )
                                       )
CEC RENEWABLE ASSETS, LLC,             )             Case No. 20-14574 MER
                                       )             Chapter 11
                   Debtor.             )
______________________________________ )
                                       )
In re:                                 )             Case No. 20-14575 MER
                                       )             Chapter 11
CEC RENEWABLE ASSETS                   )
DEVELOPMENT, LLC,                      )             Jointly Administered Under
                                       )             Case No. 20-14573 MER
                   Debtor.             )


                                        FINAL DECREE


        THIS MATTER having come before the Court on the Chapter 11 Final Report and
Motion for Final Decree filed by CEC Development Borrower, LLC, the substantively
consolidated surviving entity, and the Court, having reviewed and considered any responses or
objections thereto, hereby

         FINDS that the estates of the above-named debtors having been fully administered, it is

         ORDERED that the chapter 11 cases of the above-named debtors are hereby closed.

         DATED this 15th day of January, 2021.

                                              BY THE COURT:



                                              ____________________________
                                              Hon. Michael E. Romero
                                              Chief United States Bankruptcy Judge
